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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KELLY PRICE,

                             Plaintiff,
                                                            15-CV-5871 (LAP)
                     -against-
                                                            ORDER
 DETECTIVE LINDA SIMMONS, ET AL.,

                             Defendants.

LORETTA A. PRESKA, United States District Judge:

        On October 19, 2015, the Court directed Plaintiff to amend her complaint within sixty

days to cure its defects, and the Court dismissed the action when Plaintiff failed to do so.

Plaintiff then moved for reconsideration, and by order dated January 26, 2016, the Court

reopened this matter and granted Plaintiff an additional thirty days to file her amended

complaint. Plaintiff now moves for a further extension of time to amend her complaint, on the

grounds that: (1) she is seeking an attorney; and (2) her disorderly conduct conviction, which she

alleges is relevant to some of her claims, was recently reversed. The Court grants Plaintiff’s

request for an extension of time and directs Plaintiff to file her amended complaint within thirty

days of the date of this order.

                                           CONCLUSION

        The Clerk of Court is directed to mail a copy of this order to Plaintiff and to note service

on the docket. Plaintiff’s request for an extension of time to amend her complaint (ECF No. 12)

is granted. The Court directs Plaintiff to file her amended complaint within thirty days. An

Amended Civil Rights Complaint form is attached to this order. Plaintiff must submit her

amended complaint to this Court’s Pro Se Intake Unit and label the document with docket
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number 15-CV-5871 (LAP). If Plaintiff fails to respond, her complaint will be dismissed for

failure to state a claim on which relief can be granted.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order

would not be taken in good faith, and therefore IFP status is denied for the purpose of an appeal.

See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       SO ORDERED.

Dated: March 30, 2016
       New York, New York




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


(In the space above enter the full name(s) of the plaintiff(s). )           AMENDED
                                                                            COMPLAINT
                   -against-                                             under the Civil Rights Act,
                                                                             42 U. S. C. § 1983



                                                                           Jury Trial:   Q   Yes       Q   No
                                                                                             (check one)


                                                                            ____   Civ. _________ (        )


(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here. )


I.       Parties in this complaint:

A.       List your name, identification number, and the name and address of your current place of
         confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
         as necessary.

Plaintiff’s        Name_____________________________________________________________
                   ID#_______________________________________________________________
                   Current Institution___________________________________________________
                   Address___________________________________________________________
                   __________________________________________________________________

B.       List all defendants’ names, positions, places of employment, and the address where each defendant
         may be served. M ake sure that the defendant(s) listed below are identical to those contained in the
         above caption. Attach additional sheets of paper as necessary.



Defendant No. 1                Name ___________________________________________ Shield #_________
                               Where Currently Employed __________________________________________
                               Address __________________________________________________________
                               _________________________________________________________________


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               Defendant No. 2          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               Defendant No. 3          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                         _________________________________________________________________
W ho did
w hat?
               Defendant No. 4           Name ___________________________________________ Shield #_________
                                         Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               Defendant No. 5          Name ___________________________________________ Shield #_________
                                        Where Currently Employed __________________________________________
                                        Address __________________________________________________________
                                        _________________________________________________________________


               II.     Statement of Claim:

               State as briefly as possible the facts of your case. Describe how each of the defendants named in the
               caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
               You may wish to include further details such as the names of other persons involved in the events giving
               rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
               number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.


               A.      In what institution did the events giving rise to your claim(s) occur?
                       _______________________________________________________________________________
                       _______________________________________________________________________________



               B.      Where in the institution did the events giving rise to your claim(s) occur?

                       _______________________________________________________________________________

               C.      What date and approximate time did the events giving rise to your claim(s) occur?
                       _______________________________________________________________________________
                       _______________________________________________________________________________
                       _______________________________________________________________________________



               D.      Facts:__________________________________________________________________________
W hat          _____________________________________________________________________________________
h ap p en ed
to you ?       _____________________________________________________________________________________
               _____________________________________________________________________________________
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                _____________________________________________________________________________________
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                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
W as            _____________________________________________________________________________________
anyone
else            _____________________________________________________________________________________
involved?
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________

W ho else
saw w hat
h ap p en ed?
                III.     Injuries:

                If you sustained injuries related to the events alleged above, describe them and state what medical
                treatment, if any, you required and received.

                ______________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                ______________________________________________________________________________________


                IV.     Exhaustion of Administrative Remedies:

                The Prison Litigation Reform Act (" PLRA" ), 42 U. S. C. § 1997e(a), requires that “ [n]o action shall be
                brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
                prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
                available are exhausted. ” Administrative remedies are also known as grievance procedures.

                A.      Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                        Yes ____     No ____




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If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

_____________________________________________________________________________________
_____________________________________________________________________________________
______________________________________________________________________________________


B.      Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
        procedure?

        Yes ____     No ____       Do Not Know ____

C.      Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
        arose cover some or all of your claim(s)?

        Yes ____     No ____      Do Not Know ____

        If YES, which claim(s)?
        _______________________________________________________________________________

D.      Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

        Yes ____     No ____

        If NO, did you file a grievance about the events described in this complaint at any other jail,
        prison, or other correctional facility?

        Yes ____     No ____

E.      If you did file a grievance, about the events described in this complaint, where did you file the
        grievance?
        _______________________________________________________________________________


        1.     Which claim(s) in this complaint did you grieve?
         ______________________________________________________________________________

        _______________________________________________________________________________

        2.    What was the result, if any?
        _______________________________________________________________________________

        _______________________________________________________________________________

        3.      What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
        the highest level of the grievance process.
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________
        _______________________________________________________________________________


F.      If you did not file a grievance:

        1.     If there are any reasons why you did not file a grievance, state them here:
               _________________________________________________________________________
               ________________________________________________________________________
                ________________________________________________________________________

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                   ________________________________________________________________________
                   ________________________________________________________________________
                   ________________________________________________________________________


         2.        If you did not file a grievance but informed any officials of your claim, state who you
                   informed, when and how, and their response, if any:

                   ________________________________________________________________________
                   ________________________________________________________________________
                   ________________________________________________________________________
                   ________________________________________________________________________
                   ________________________________________________________________________
                   ________________________________________________________________________



G.       Please set forth any additional information that is relevant to the exhaustion of your administrative
         remedies.
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________
         _______________________________________________________________________________

Note:    You may attach as exhibits to this complaint any documents related to the exhaustion of your
         administrative remedies.


V.       Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that
you are seeking and the basis for such amount).




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           VI.     Previous lawsuits:

           A.      Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
On
these              action?
claims
                   Yes ____ No ____

           B.      If your answer to A is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                   there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
                   the same format. )

                   1.      Parties to the previous lawsuit:

                   Plaintiff
                   Defendants

                   2. Court (if federal court, name the district; if state court, name the county) ________________

                   3.      Docket or Index number
                   4.      Name of Judge assigned to your case__________________________________________
                   5.      Approximate date of filing lawsuit
                   6.      Is the case still pending? Yes ____ No ____
                           If NO, give the approximate date of disposition__________________________________
                   7.      What was the result of the case? (For example: Was the case dismissed? Was there
                           judgment in your favor? Was the case appealed?) _______________________________
                           ________________________________________________________________________
                           ________________________________________________________________________


           C.      Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?
 On
 other             Yes ____     No ____
 claim s



           D.      If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                   there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                   the same format. )

                   1.      Parties to the previous lawsuit:

                   Plaintiff
                   Defendants


                   2.      Court (if federal court, name the district; if state court, name the county) ___________

                   3.      Docket or Index number
                   4.      Name of Judge assigned to your case_________________________________________
                   5.      Approximate date of filing lawsuit

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         6.      Is the case still pending? Yes ____ No ____
                 If NO, give the approximate date of disposition_________________________________

         7.      What was the result of the case? (F or example: Was the case dismissed? Was there
                 judgment in your favor? Was the case appealed?) ______________________________
                 ________________________________________________________________________
                 _________________________________________________________________________



I declare under penalty of perjury that the foregoing is true and correct.

Signed this      day of                   , 20   .


                                 Signature of Plaintiff    _____________________________________
                                 Inmate Number             _____________________________________
                                 Institution Address       _____________________________________
                                                           _____________________________________
                                                           _____________________________________
                                                           _____________________________________



Note:    All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
         their inmate numbers and addresses.


I declare under penalty of perjury that on this _____ day of _________________, 20__, I am delivering
this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for
the Southern District of New York.


                                 Signature of Plaintiff:   _____________________________________




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